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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :       Criminal No. 21-cr-32-DLF
                                               :
               v.                              :       Magistrate No. 21-cr-91-ZMF
                                               :
GUY WESLEY REFFITT,                            :       Detention Hearing: March 15, 2021
                                               :
                       Defendant.              :

               GOVERNMENT’S MEMORANDUM IN SUPPORT OF
          PRETRIAL DETENTION OF DEFENDANT GUY WESLEY REFFITT

       The United States of America, by and through its undersigned attorneys, respectfully

submits this memorandum in support of its oral motion that the defendant be detained pending trial

pursuant to 18 U.S.C. §§ 3142(f)(1)(A) and (f)(2)(B). Defendant Guy Wesley Reffitt has been

indicted for three crimes arising from his participation in the January 6, 2021 riot at the U.S.

Capitol, including one felony obstruction charge for threatening witnesses if they came forward to

law enforcement. The factors outlined in 18 U.S.C. § 3142(g) strongly favor detention, and there

is no condition or combination of conditions that will adequately protect the community and ensure

the defendant’s future presence in court. Accordingly, Reffitt should be detained pending trial.

                               FACTUAL BACKGROUND

       The defendant has been indicted for Obstruction of an Official Proceeding, in violation of

18 U.S.C. § 1512(c); Entering and Remaining in a Restricted Building or Grounds, in violation of

18 U.S.C. § 1752(a)(1); and Obstruction of Justice – Hindering Communication Through Physical

Force or Threat of Physical Force, in violation of 18 U.S.C. § 1512(a)(2)(C). These charges arise

from the defendant’s role in the January 6, 2021 attack on the U.S. Capitol. As detailed below,

the defendant was at the front of the first group of rioters to challenge a police line that was trying

to secure the U.S. Capitol building from being breached. The defendant led a group of rioters up



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the Capitol steps, confronted law enforcement, and retreated only after being pepper sprayed in

the face. This action caused the police line guarding the building to retreat closer to the building

itself; soon after this, law enforcement was overwhelmed, and rioters flooded the building.

       After the defendant returned home to Texas, he was emboldened by what he had done. He

told his children that they would be traitors if they reported him to law enforcement, and that

“traitors get shot.” He predicted future political violence in statements both to his family and to

fellow militia members, bragged to fellow militia members about his involvement in the riot,

recruited other rioters into the militia, and ordered bear spray and riot shields to his home to prepare

for further violence.

                         The Riot at the U.S. Capitol on January 6, 2021

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the

U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol

Police. Only authorized people with appropriate identification were allowed access inside the U.S.

Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of

the public.

       On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

elected members of the United States House of Representatives and the United States Senate were

meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral

College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint

session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the

House and Senate adjourned to separate chambers to resolve a particular objection. Vice President

Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.



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       As the proceedings continued in both the House and the Senate, and with Vice President

Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As

noted above, temporary and permanent barricades were in place around the exterior of the U.S.

Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to maintain order and keep the crowd from entering the Capitol; however, around

2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the

United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President

Pence remained in the United States Capitol from the time he was evacuated from the Senate

Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

and on the U.S. Capitol grounds without authority to be there.

                                 Reffitt’s Involvement in the Riot

       At the times relevant here, Reffitt lived in Wylie, Texas, with his wife, 18-year-old son,



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and 16-year-old daughter. Reffitt is a member of a “3%er” militia organization known as the

“Texas Three Percenters” (“TTP”).1 In late December 2020, one of Reffitt’s family members

informed the FBI that Reffitt was “going to do some serious damage” related to federal legislators

in Washington, D.C. Sure enough, on or around January 5, 2021, Reffitt and another TTP member

drove from Texas to Washington, D.C. During the drive, Reffitt talked about “dragging those

people out of the Capitol by their ankles” and installing a new government. Reffitt brought at least

two firearms with him on his trip to Washington, D.C.: an AR-15 rifle and a Smith & Wesson

pistol.

          Prior to traveling to D.C., the defendant messaged about his plans, including that he

intended to “surveil the atmosphere for like minded Patriots and see if we have enough marching

with heat.” The morning of January 6, 2021, Reffitt began to discuss his plans for the day,

including “do the recon and then come back for weapons hot” and sent messages about meeting at

the “rendezvous point.” These messages, along with the weapons that Reffitt carried and the gear

he wore, make clear that the defendant did not come to D.C. with the intention to engage in

peaceful activity.

          On the afternoon of January 6, 2021, Reffitt, along with scores of other individuals,

stormed the U.S. Capitol and its grounds and disrupted a joint session of Congress over which

Vice President Pence was presiding. Reffitt was at the front of the pack that charged U.S. Capitol



1
  Militia extremists sometimes call themselves three percenters (“III%ers” or “threepers”) based
on the myth that only three percent of American colonists took up arms against the British during
the American Revolution. Some III%ers regard the present-day US Government as analogous to
British authorities during the Revolution in terms of infringements on civil liberties. While many
independent or multi-state militia groups incorporate III% in their unit names, the term is less
indicative of membership in a single overarching group than it is representative of a common belief
in the notion that a small force with a just cause can overthrow a government if armed and prepared.

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Police officers, carrying his pistol and flexi-cuffs, and wearing body armor and a helmet mounted

with a video camera. According to records obtained from Life360, a geolocation tracking app that

Reffitt had installed on his phone, he arrived at the terrace on the west side of the Capitol building

shortly after 1:50 p.m. As noted above, around 2 p.m., members of the crowd surged through and

past the police line and then into the building.

       The defendant, by his own admission and as evidenced on television footage, was one of

the individuals who advanced on the officers holding the police line, as he was struck repeatedly

by the officers’ rubber bullets and chemical spray. The defendant described this himself, in a

covertly recorded conversation, shortly after the attack: 2

               And the guy was standing there, staring at him and I was like, dude, get out
               of the fucking way. We have to go forward. And at first he wouldn't get out
               of the way up, I pushed him out of the way. And I climbed up there and I
               started going up the bannister and that’s when everything started moving
               forward and everybody saw what happened to me, get hit with the pepper
               spray and all the bullets, watching them fucking explode all over me. And
               I’m still walking forward and not, not stopping.

       The defendant elaborated on this in a different recorded conversation, while narrating a

video he captured from a camera he had been wearing on his helmet:

               I said I wasn’t leaving till I got in there. I didn’t make it in. But I started
               the fire. You can see that in the video here in a little bit. They just stopped.
               I was like, What are you fucking doing? Get out of the fucking way.

        Reffitt also stated, when referring to his interaction with certain U.S. Capitol Police
officers:

               [S]he ran behind the wall like this. And she was like, and she go back out
               and she looked and I was like, I'm not stopping. And she went like, Pop,
               Pow Pow. And then she was like trying to shoot me again, and she went

2
  The government is in possession of audio recordings of Reffitt speaking inside his home on
several occasions between around January 8 and 11, 2021. These statements arguably indicate his
true intentions, as he was apparently not aware that anyone was recording him. Rough transcripts
of these recordings have been provided to Reffitt’s defense counsel.

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               back behind the wall. And then all of a sudden she comes back out and then
               a guy come around her and hit me with a bear mace. And I was like, all
               right, you’re good….

               She was cute. She was a little scared. We were all scared. Everybody was
               scared. It’s not like anybody wasn’t scared. It was a very scary scenario.
               And yes, they knew we were coming. They did their job. Nobody was mad.
               I’m not mad. I take all these welts, all these bruises. I’m actually proud of
               her. She did her best and they all hit. There’s nothing wrong with it. No, I
               wasn’t mad at them for that. But it didn’t mean I was going to stop. I mean,
               there was no reason for me to give up because I had come so far to do what
               I wanted, what we wanted and needed to do. And I had a mindset. I didn’t
               mean to actually be the first guy up there. I didn’t even mean to do that. I
               just, the adrenaline and knowing that I can’t let my country fall.

       News media footage captured Reffitt, standing on a landing in a restricted area on a

staircase between terraces at the U.S. Capitol, flushing his eyes out with water after his attack:




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       Reffitt’s body armor vest and black helmet with a Go-Pro-style camera attached are visible

in these photos and videos. This attire is indicative of someone who planned in advance and came

prepared for a battle. Indeed, in statements Reffitt made afterward to fellow militia members and

to his family, he explained that he wore the largest jacket he owned so that he could conceal the

maximum amount of tactical gear underneath it.

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        Following the riot, Reffitt and the TTP member he had traveled with drove back to Texas,

arriving at Reffitt’s home in Wylie on the evening of January 8. Upon arrival, Reffitt carried his

AR-15 rifle and Smith & Wesson pistol from his vehicle into house. During the execution of a

search warrant at Reffitt’s house on January 16, the FBI located both of these firearms – along

with three others - inside the home. The search team also recovered the clothing Reffitt was

photographed wearing during the riot, as well as plastic zip tie hand restraints within the near

proximity of those clothing items. Finally, agents also recovered an unregistered silencer in a gun

safe. The silencer was threaded to fit to a .22 caliber firearm also located in the gun safe. Initially,

Reffitt falsely told the FBI that the silencer was a “fuel filter” for his car, but he eventually admitted

that it was, in fact, a silencer that he had purchased, attached to his firearm, and fired.

                          Reffitt’s Admissions About His Role in the Riot

        Reffitt has made numerous admissions about his conduct at the Capitol. In the course of

extensive admissions to his family, he threatened his children to prevent them from reporting him

to law enforcement. He also made numerous admissions in written messages to TTP militia

members over the encrypted cell phone application Telegram.                These statements not only

corroborate the other evidence that documents Reffitt’s participation in the riot, but they also show

that Reffitt was emboldened by the events of January 6 and his role in them, and that he expects—

and is planning for—further political violence.

                           Reffitt’s Post- Riot Admissions to His Family

        During the weekend of January 9 and 10, Reffitt explained to his family how and why he

had stormed the Capitol. Several of these conversations were covertly recorded by a family

member who did not agree with his actions at the Capitol. In these recordings, when Reffitt




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thought the government wasn’t listening and that no one was recording, he explained his actions

this way:

                [W]e made a very valid point to the country that we can, we can do it. We
                can do whatever we want to protect our rights. And it was like, the
                adrenaline just kicked in and I just rushed through the crowd. And I didn’t
                know why no one was moving. I was like, what the fuck are you guys doing?
                I came here for a reason. I didn’t drive twenty fucking hours to come here
                and not do what needs to be done. The bad people are in that building.
                They’re the bad people. They’re disgusting people.

       When asked if he believed he had accomplished his mission – even though he did in some

sense succeed, as the Capitol was breached and the joint session of Congress was in fact disrupted

–Reffitt replied:

                I think, no. Actually what happened was only the preface of the book. You
                know what a preface is? The beginning of the book. It’s kind of an
                explanation of how the book is going to turn out. But it’s just a notification
                of what you’re going to read in the future. All that was just an example of
                what we could do without firing a shot. Even though this gun was right here
                loaded, all I had to do was <mechanical noise> that and shoot, but I didn’t
                have to do that. I chose, and everyone chose, not to.

       Reffitt acknowledged that he could go to jail for his actions on January 6, yet he did it

anyway. He was recorded as saying: “I didn’t go up there to go to jail. I went up there with the

prospects that I could.”

       Reffitt stated that he not only brought his firearm to Washington, D.C., but that he had it

on his person when stormed the Capitol:

                I didn’t technically break the law. Technically, there’s a difference
                between breaking the law and technically. Technically I went to protect
                my country and I had every constitutional right to do so the way I did it….

                I did bring a weapon on property that we own. Federal grounds or not.
                The law is written, but it doesn’t mean it’s right law. The people that were
                around me were all carrying too.

       Finally, Reffitt stated that he was not finished with political violence. Indeed, just as he



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described January 6 as the “preface” of a book, Reffitt also asserted that the Capitol insurrection

was just the “beginning” of “a lot more”:

               And you’ll find out that I had every constitutional right to carry a weapon
               and take over the Congress, as we tried to do. We went in, they scurried
               like rats and hid. That’s how it works….

               We made a point. That was a historic day. There’ll be days your whole life
               when you’ll know that your father you’ll know that your father was there
               when an epic historical thing happened in this country. And guess what?
               I’m not done yet. I got a lot more to do. That’s the beginning.


(Emphasis added).

                            Reffitt’s Post-Riot Threat to His Children

       In the days following the Capitol riot, nationwide news reports described rioters who had

been arrested, and efforts by law enforcement to identify those who had participated in the riot.

Several of these stories used the photographs above, showing clear images of Reffitt’s face, as he

tried to rinse pepper spray out of his eyes. Reffitt initially displayed bravado about facing any

consequences for his actions. During the weekend of January 9, Reffitt showed his wife and son

a video he took on January 6. In this conversation, which was recorded, in response to Reffitt’s

wife suggestion that he stop trumpeting his participation in the riot, Reffitt replied:

               Can I talk about it in my house? Is that cool with you? Are you done or
               what? I mean, it’s a free, sh-- , this is my kid and my wife, and its --. I’m
               in the security of my own home, I’m good. I mean, if you guys want to turn
               me in – if either one of you turn me in – that’s fucking fine. I’ll take it. I
               don’t mind. I was willing to die when I was there. I was willing to die.
               So, if we’re going to jail for having been up there, then I’m done.

       However, two days later, when Reffitt’s wife was no longer present, Reffitt made clear to

his children that he did, in fact, care about the consequences of his actions. On January 11, 2021,

while in his home with his children and another young man who is a family friend, Reffitt stated

that he had to erase everything because the FBI was watching him. He then threatened to kill his

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children if they turned him in or cooperated with the authorities. Specifically, Reffitt told his

children to “choose a side or die.” When his children asked him what he meant, and whether he

was threatening them, Reffitt cautioned his children not to cross a line that would make him feel

compelled to do something he did not want to do. Reffitt’s son understood this “line” to be

cooperating with law enforcement. In addition, Reffitt specifically told his daughter, who was

using her cellphone during part of the conversation, that if she was recording him or if she put his

comments on social media, then he would put a bullet through her phone.

         Reffitt’s son took Reffitt’s statements as a threat to his life. And Reffitt’s daughter, who

indicated that she did not think that her father would actually harm her, nonetheless stated that she

believed that he made the statements to her and her brother in order to intimidate them. Both

children promptly reported their father’s statements to their mother. When confronted by his wife

later that day, instead of showing regret or disavowing what he had said, Reffitt doubled down on

these same warnings to her: if the children turned him in they would be traitors – and “traitors get

shot.”

         In response to this threat, Reffitt’s son has taken substantial steps to secure his safety,

including, among other things, relocating from his family’s home to an undisclosed location.

                          Reffitt’s Admissions to Fellow Militia Members

         Messages between Reffitt, fellow TTP members, and other rioters, mostly through the cell

phone application Telegram, both corroborate Reffitt’s admissions to his family and show that the

events of January 6 have emboldened him and inspired him to engage in further political violence. 3

Reffitt made clear in these messages that had traveled to D.C. with plans to be armed during the

day’s events, that he was, in fact, armed during the riot, and that his intentions were to occupy the


3
    These messages were found during the execution of a search warrant on Reffitt’s cell phone.

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Capitol. In one message sent on December 28, 2020, Reffitt wrote, “I don’t think unarmed will be

the case this time. I will be in full battle rattle. If that’s a law I break, so be it but I won’t do it

alone. They spent four years breaking the laws. The government has spent decades committing

treason. I’m not afraid of unconstitutional laws. I wish I was but just can’t be.”

        After the riot, on January 9, 2021, Reffitt confirmed he had, in fact been armed while at

the Capitol: “We all had weapons but never filed a single round.” And in more than one message,

Reffitt proudly tied his own confrontation with U.S. Capitol Police to other rioters’ success in

breaching the building. On January 8, 2021, he sent a photo of himself from the riot and wrote,

“And this was me forcing the Capital Police hand.” 4 On January 9, 2021 he wrote, “I finally made

it to the top of the steps when they broke through the doors. My job was done then. I had to fall

back and get my site back.”

        Significantly, in more than one message, Reffitt championed the riot, recruited fellow

rioters into his militia, predicted more political violence in the future, and described his own

preparations for that future violence. On January 9, 2021, Reffitt wrote to other TTP members,

“We took the Capital of the United States of America and we will do it again.” In a message sent

on January 13, 2021, Reffitt described law enforcement’s efforts to stop him during the riot, and

predicted additional violence to come:

        I was in DC on the 6th and I can’t go into details but I was repeatedly shot with clay bullets
        and Pepper Sprayed very heavily. We took the Capital and put the POS Capital Hill on it’s
        heels. This has only just begun and will not end until we The People of The Republic have
        won our country back. We had thousands of weapons and fired no rounds yet showed
        numbers. The next time we will not be so cordial.

(Emphasis added).



4
 All quotations in this filing use the defendant’s own words and are not modified to correct
spelling or grammatical errors or apparent typos.

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           In several messages that started on January 7, 2021, Reffitt also communicated with two

other rioters from Texas whom he appears to have met while in D.C. In those messages, the three

discussed their involvement in the riot, whether they would get in legal trouble for doing so, and

their plans to leave D.C. In one message, Reffitt sent a photograph from the Capitol, bragging

“And this was me forcing the Capital police hand.” Reffitt also explained to these two recruits

that the coat he wore during the riot was one he “got when [he] was in Kuwait,” and that he wore

it to the Capitol because “[i]t was the only one big enough to covet my gear.” In another, dated

January 9, 2021, Reffitt pressed these rioters to join his militia, promising them “ammo and

weapons available to law enforcement” and that “[t]he fight has only just begun” if they joined

him:

           I’ve added you to a Texas Three Percenters Continental Army Telegram chat. I am Texas
           State Intel Officer and call sign is Call to Arms. I have researched both of your past and
           present 5. . . . as I expected you are both very true blooded Patriots. . . . We now have a new
           secure webpage [redacted]. Go and sign up. We have a ladies group that are training for
           the exact skills that you Both excel at. The battle rattle equipment is also another variant
           we are working on. I have a new security business to circumvent the 2nd Amendment issue.
           TTP Security Services LLC. Website is under construction but business is licensed with
           Secretary of State, Texas DPS, and Texas Board of Private Security. We can get ammo
           and weapons available to law enforcement. We have an interior certified training officer.
           Join us and lets take back our country. The fight has only just begun…”

(Emphasis added).

           Finally, Reffitt sent messages regarding his identification of future targets and his efforts

to prepare for similar violence in the future. On January 9, 2021 Reffitt stated “DC is a futile

effort now. Changing direction and attack protocol would benefit. MSM 6 and Big Tech need to

feel the rathe of the Republic now.” That same day, in a recorded conversation in his home,


5
    In other messages, the defendant claimed to have access to the NCIC database.
6
  MSM is believed to refer to the “main stream media.” Reffitt has made threats to attack social media companies
located in California dating back to the summer of 2020.


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Reffitt stated “I think we showed that we are no longer going to take so much. We are still not

done. And everyone I've spoke to is -- actually they're getting ready to go back on the 20th. . .

.Why, I don't know. Because that's not where they need to go. We need to go to California or we

need to find that -- we need to destroy the news media and start all over.” Reffitt had sent other

messages following the riot regarding his intent to continue to engage in violence directed: “THE

CAPITAL HAS BEEN DONE AND THEY ARE ON THEIR HEELS. THEY ARE

PREPARED. California, Big Tech and MSM. They aren’t ready and don’t believe they can

ready fast enough.” On January 13, 2021, Reffitt wrote, “I’ll not be taken down again like in DC.

I have a riot shield and 9oz cans of Bear Spray in route my home.” He then sent out an ebay link

that advertised a “Clear-Law-Enforcement-Swat-Team-Anti-Riot-Protective-Shield.”

                                           ARGUMENT

       This defendant drove halfway across the continental United States to participate in an

armed insurrection with the intent to interrupt the peaceful transfer of power by the United States

Congress. By his own admission, Reffitt led the charge that pushed back U.S. Capitol Police who

were defending the Capitol building, and that allowed other rioters to rush inside, putting hundreds

of lives at risk. Afterward, the defendant was emboldened. He touted his own conduct, predicted

(and prepared for) further political violence, and recruited other rioters to join his militia. And, of

course, he threatened to harm his own children if they did anything to stop him. Given these facts,

the factors the Court must weigh under § 3142(g) strongly favor detention here. There simply is

no release condition or combination of conditions that can ensure the safety of the community if

this defendant is released pre-trial. He must therefore be detained. 7


7
  The Bail Reform Act permits the Government to seek detention here, under 18 U.S.C. §18 U.S.C.
§§ 3142(f)(1)(A) (danger to community) and 3142(f)(2)(B) (risk of obstruction of justice). Reffitt
is charged with violating 18 U.S.C. § 1512(a)(2)(C), which is a “crime of violence” under

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    1. Nature and Circumstances of the Charged Offenses

        The nature and circumstances of the charged offenses heavily favor detention. The charges

in this case address criminal conduct that targeted the heart of our democracy. This defendant

helped disrupt the joint session of Congress that was carrying out constitutionally mandated duties:

armed with a firearm, body armor, and a helmet, the defendant fought police officers on the Capitol

steps in order to push their line back toward the building, and to allow the larger mass of rioters to

advance toward the ultimate prize, the interior of the Capitol building. Then, upon returning home

and realizing his conduct could have serious legal consequences, the defendant threatened to kill

his own children if they cooperated with law enforcement to bring him to justice and directed

others in his militia group to delete evidence, stating “clear all chats immediately. All groups need

cleared IMMEDIATELY,” and to “Purge all previous conservations” “NOW.” When the

defendant made these threats, he was in possession of five firearms, giving weight to his threats

and giving him easy ability to carry them out – either to kill his children, or to “put a bullet through”

his daughter’s phone. And, when his wife confronted him, rather than retract them, he doubled

down. The nature and circumstances of this offense conduct is highly serious. This factor favors

detention.

    2. Weight of the Evidence Against the Defendant

        The evidence against the defendant is strong. His conduct during the riot was captured in

photographs, video, and is corroborated by his own statements to his family, messages he sent to




§ 3142(f)(1)(A). Section 3142(f)(1)(A) uses the definition of “crime of violence” from Section
3156(a)(4)(A): “an offense that has an element of the offense the use, attempted use, or threatened
use of physical force against the person or property of another.” Section 1512(a)(2)(C)
criminalizes the “use[] of physical force or the threat of force,” or an “attempt[] to do so.” Section
3142(f)(2)(B) provides an alternative basis for the Government’s detention request.

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other rioters and militia members, witnesses who were present with him, and geolocation evidence

from the Life360 application on his cell phone. In addition, everyone who was present in the

defendant’s house to hear his threats against his children confirmed that he said his children would

be traitors if they turned him in, and that traitors get shot; even his wife conceded that he later told

her that he had made those statements to the children. 8 Accordingly, this strong evidence also

favors detention.

    3. The Defendant’s History and Characteristics

        The history and characteristics of the defendant—in particular, his use of his business to

circumvent firearms laws to better arm his militia—also favors detention. When the defendant

met with FBI agents, he insisted that his business, TTP Security LLC, was unrelated to the TTP

militia, and that “TTP” in his business’s name stood for “Tactics, Techniques, and Procedures.”

However, the defendant’s January 9, 2021 Telegram message to his fellow rioters (and prospective

TTP militia members) reveals this to false. Rather, as Reffitt explained in that message, TTP

Security LLC is a key part of a plan to circumvent firearms laws to give his militia access to law

enforcement grade guns and ammunition to “take back our country.” This effort to use his business

as a front to funnel high grade weapons to his militia—all while misleading the FBI about the true

relationship between that business and his militia—show that this defendant’s history and

characteristics warrant detention.




8
 All four individuals have made varying comments, to the government and in some instances to
news media, about how seriously they or others took Reffitt’s threats, and whether they thought
he would actually kill them. But all that matters is that Reffitt had the intent to intimidate his
children. It is clear that he did.

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       In addition, Reffitt has prior misdemeanor convictions for carrying a weapon and DWI.

And while he is married with a family, his threats to harm his own children suggest that he will

not be able to live peacefully with his family.

   4. Danger to the Community

       Finally, the serious danger the defendant would present if released weighs overwhelmingly

in favor of detention. As described above, the nature of the defendant’s offense conduct shows he

would be a danger to the community generally, and to his own children in particular, if released.

       Most significantly, the defendant’s own statements make clear that the riot on January 6,

and his role in it, emboldened him. In the days afterward he showed no remorse, but instead touted

his actions as “the preface” and “the beginning” of more political violence to come: “[t]his has

only just begun and will not end until we The People of The Republic have won our country back,”

he wrote one week after the riot. That same day, he purchased bear spray and a riot shield so that

he could better confront law enforcement in the future (“I’ll not be taken down again like in DC.”).

In recruiting other rioters to join his militia, he promised them access to law-enforcement quality

firearms and ammo, and asserted that “the fight has only begun.” In addition, the defendant’s own

statements raise serious questions about whether he would abide by any conditions of release;

indeed, as noted above, the defendant spoke repeatedly of his belief that he does not have to follow

the laws of the United States if he does not agree with those laws.

       These statements provide a unique window into the defendant’s mindset and intentions.

For this defendant, what he did on January 6 was not an aberration, but rather just the beginning.

As such, the defendant, by his own account, presents a serious danger to the community—not only

to his family and Congress, but to the entire system of justice. This factor heavily favors detention.




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                                    CONCLUSION

       There are no condition or combination of conditions that would ensure the safety of the

community if the defendant were released. Therefore, he should be detained pending trial.


                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

I hereby certify that on March 13, 2021, I filed a copy of the foregoing via the Court’s ECF
system, thereby providing a copy to defense counsel of record.


                                             /s/Risa Berkower
                                             RISA BERKOWER
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